Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 1 of 10 PageID# 1
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 2 of 10 PageID# 2
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 3 of 10 PageID# 3
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 4 of 10 PageID# 4
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 5 of 10 PageID# 5
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 6 of 10 PageID# 6
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 7 of 10 PageID# 7
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 8 of 10 PageID# 8
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 9 of 10 PageID# 9
Case 1:10-cv-01394-CMH-JFA Document 1 Filed 07/14/10 Page 10 of 10 PageID# 10
